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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA,

V. 4:09CR003()4 Jl\/Il\/l

JARED ROSE
DECLARATION OF PUBLICATION
Under 21 U.S.C. § 853(n)(l), and the Attorney General’s authority to determine the
manner of publication of an Order of Forfeiture in a criminal case, notice of the forfeiture Was
posted on an official government internet Site (Www.forfeiture.gov) for at least 30 consecutive
days, beginning on April 27, 2010, and ending on l\/Iay 26, 2010. (§_e§, Attachment l.)
l declare under penalty of perjury that the foregoing is true and correct. Executed on

September 2l , 2010, at Little Rock, AR.

By /s/ KAREN WHATLEY
Assistant U. S. Attorney
Bar No. 94132

P. O. Box 1229

Little Rock, AR 72203
501-340-2607
karen.Whatley@usdoj . gov

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Attachment l

UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF ARKANSAS
COURT CASE NUMBER: 4:09CR00304; NOTICE OF FORFEITURE

Notice is hereby given that on April l9, 2010, in the case of U.S. v. Jared Rose, Court Case Number
4:09CR00304, the United States District Court for the Eastem District of Arkansas entered an Order
condemning and forfeiting the following property to the United States of America:

Assorted Firearms with Ammunition, VL: $240.00 (09-DEA-523538), including the
following items: l Jimenez Arms .3 80 semi-automatic handgun with 12 rounds of ammo
and holster, Ser No: 109573; 1 SWD M-ll 9mm semi-automatic handgun with magazine
holding 10 rounds of ammo, Ser No: XX-XXXXXXX which was seized from Jared Rose on
July 07, 2009 at 2625 Claude Road, located in Pine Bluff, AR

The United States hereby gives notice of its intent to dispose of the forfeited property in such
manner as the United States Attorney General may direct. Any person, other than the defendant(s) in this
case, claiming interest in the forfeited property must file a Petition within 60 days of the first date of
publication (April 27, 2010) of this Notice on this official government internet web site, pursuant to Rule
32.2 of the Federal Rules of Criminal Procedure and 21 U.S.C. § 853(n)(1). The petition must be filed with
the Clerk of the Court, 600 West Capitol, Room 322, Little Rock, AR 72201, and a copy served upon
Assistant United States Attorney Anne Gardner, 425 W. Capitol, Ste 500, Little Rock, AR 72201. The
petition shall be signed by the petitioner under penalty of perjury and shall set forth the nature and extent of
the petitioner‘s right, title or interest in the forfeited property, the time and circumstances of the petitioner‘s

acquisition of the right, title and interest in the forfeited property and any additional facts supporting the
petitioner‘s claim and the relief sought, pursuant to 21 U.S.C. § 853(n).

Following the Court's disposition of all petitions filed, or if no such petitions are filed, following the
expiration of the period specified above for the filing of such petitions, the United States shall have clear
title to the property and may warrant good title to any subsequent purchaser or transferee

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Advertisement Certification Report

The Notice of Publication was available on the www.forfeiture.gov web site for at least 18 hours per day
between April 27, 2010 and May 26, 2010. Below is a summary report that identifies the uptime for each
day within the 30-day period and reports the results of the web monitoring system's daily check that verifies
that the advertisement was available each day.

U.S. v. Jared Rose

Court Case No: 4:09CR00304
For Asset lD(s): See Attached Advertisement Copy

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Addltional log information is available and kept in the archives for 15 years after the asset has been
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